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           January 31, 2022

           Via ECF

           The Honorable Ann Marie Donio, U.S.M.J.
           United States District Court for the District of New Jersey
           Mitchell H. Cohen Building & U.S. Courthouse
           4th & Cooper Streets
           Camden, New Jersey 08101

           Re: Group 2 Cases:

                Kimberly Bond, et. al. v. Solvay Specialty Polymers, USA, LLC, et. al.
                Civil Action No.: 1:20-cv-08487-NLH-KMW

                Theresa Slusser, et. al. v. Solvay Specialty Polymers, USA, LLC, et. al.
                Civil Action No.: 1:20-cv-11393-NLH-KMW

                Tammy O’Leary, et. al. v. Solvay Specialty Polymers, USA, LLC, et. al.
                Civil Action No.: 1:21-cv-00217-NLH-KMW

                Carly Corrar, et. al. v. Solvay Specialty Polymers, USA, LLC, et. al.
                Civil Action No.: 1:21-cv-00452-NLH-KMW

                Shirley Bond v. Solvay Specialty Polymers, USA, LLC, et. al.
                Civil Action No.: 1:21-cv-11203-NLH-KMW

           Dear Judge Donio:

           We represent Defendants, E. I. du Pont de Nemours and Company, The Chemours
           Company, and The Chemours Company FC, LLC (collectively “EID/CC”). During the
           January 18, 2022 status conference in the above-referenced Group 2 cases (i.e.
           Kimberly Bond, ECF Nos. 176, 179), and in Your Honor’s Order dated January 20,
           2022 (i.e. Kimberly Bond, ECF No. 177), Your Honor directed the parties to attempt
           to agree upon an Open Public Records Act request for submission to the Department
           of Environmental Protection and to update you on the status of this by January 31,
           2022. You also instructed defendants to provide terms that we would include in the
           OPRA request to plaintiffs by January 31, 2022.

           While the parties have made progress and anticipate reaching agreement shortly,
           the parties jointly request that Your Honor grant them a one-week extension of time
           through and including February 7, 2022, for defendants to provide their terms to be
           included in the OPRA request and to confer with plaintiffs. The parties will provide
           another update on February 7 with regard to their progress.



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           Sincerely,

           /s/ Ryan Richman

           Ryan Richman

           cc: All counsel of record (via ECF)




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